         Case 1:16-cr-10343-ADB Document 803 Filed 03/29/19 Page 1 of 8



                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
UNITED STATES OF AMERICA            )
                                    )
            v.                      )                 Criminal No. 16-10343-ADB
                                    )
RICHARD M. SIMON, et al.,           )
                                    )
            Defendants.             )
____________________________________)

                              Government’s Opposition to
      Simon’s Motion for Mistrial, to Strike Testimony, or for an Evidentiary Hearing

       On March 15, 2019, after learning that the government had spoken with its witness, Nathan

Tyron Rustin, during the recess in his direct examination the evening of March 14, 2019 and the

morning of March 15, 2019, defendant Richard M. Simon moved orally for a mistrial. (3/15/19

Tr. 91092.) This Court denied it. (Id. at 92.) Simon has now renewed that motion, seeking a

mistrial, or, in the alternative, to strike Rustin’s testimony, or, if the Court denies both of those

requests, for an evidentiary hearing about the government’s meetings with Rustin. (Simon Motion,

Dkt. No. 780.) Simon contends that as a result of the government’s two meetings with Rustin,

Rustin’s March 15, 2019 testimony “directly contradicted the exculpatory testimony he had

provided on March 14.” (Simon Motion at 2.) This, Simon says, “gives rise to serious questions

concerning the Government’s interactions with him, including whether he was pressured,

intimidated or coached into recanting his exculpatory testimony.” (Id.) He claims, however, that

he was “not in a position to delve into the details in front of the jury moments after the startling

turn of events.” (Id.) The Court should deny Simon’s motion.

       The Supreme Court has said that the “judge’s power to control the progress and, within the

limits of the adversary system, the shape of the trial includes broad power to sequester witnesses
           Case 1:16-cr-10343-ADB Document 803 Filed 03/29/19 Page 2 of 8



before, during, and after their testimony.” Geders v. United States, 425 U.S. 80, 87 (1976); United

States v. Sepulveda, 15 F.3d 1161, 1175-1176 (1st Cir. 1993). Fed. R. Evid. 615, which governs

the sequestration of witnesses, recognizes the court’s authority by providing that at a party’s

request, or on its own, “the court must order witnesses excluded so that they cannot hear other

witnesses’ testimony.” Fed. R. Evid. 615. By its plain language, Rule 615 does not address

whether a trial attorney may talk with his or her own witness during a break in that witness’s

testimony. But this District has neither a local rule nor a local practice precluding a lawyer,

including the government, from conferring with his or her own witness during a break in that

witness’s direct examination, as Simon recognizes.1 (See Simon Motion at 3 n.2.) Compare, e.g.,

Local Rules of the District Court of Maine, Rule 39(c)(2) (“Upon oral motion of a party or on its

own motion, the Court may order on such terms as it may prescribe, that a witness under

examination in court shall not discuss the witness’s testimony, including during any recess taken

during the examination or before the witness is finally excused.”); United States v. Mangana, 127

F.3d 1, 5 (1st Cir. 1997) (noting the “long-standing custom in the district [of Maine, prior to

promulgation of the Local Rule] that precluded counsel from conferring with a witness until the

witness had been excused from the stand.”). The government therefore did not violate any rule

or practice in speaking with Rustin during the recess in his direct examination.

       Simon’s suggestion that the “complete reversal of Mr. Rustin’s exculpatory testimony”

raises the question whether the government “pressured, intimidated or coached [him] into

recanting his exculpatory testimony” is without merit. [Simon Motion at 2; see id. at 4 (“it seems



       1
        It is, however, the practice in this District that a lawyer may not confer with his or her
own witness after completion of the witness’s direct examination.
                                                2
           Case 1:16-cr-10343-ADB Document 803 Filed 03/29/19 Page 3 of 8



incontrovertible that something happened”).) First, as a factual matter, this case does not involve

the admission of improper evidence. Rustin’s testimony on March 14 was not exculpatory, as

Simon claims, particularly in light of the exhibits to which his testimony referred. For example,

Rustin testified that he was “not aware of an agreement” with Dr. Judson Somerville regarding the

amount of Subsys Somerville was supposed to be prescribing in each refill. (3/14/19 Tr. 200.)

But the email from Simon about which Rustin was testifying at the time instructed Rustin to “[d]rill

into Kike’s head that every refill has to be 180 to 240 [units], etc., and that Dr. Somerville agreed

to do this.” (Ex. 1513 (emphasis added); 3/14/19 Tr. 200; see 3/15/19 Tr. 54, 56.) Moreover,

Rustin testified on March 14 that he had told Kike that the refills had to be for more units

“[b]ecause Dr. Somerville had agreed to do this.” (3/14/19 Tr. 201-202.)         Rustin’s March 15

testimony about Exhibit 224 (Simon’s email of instructions to his sales team) and an agreement

between Simon and Somerville was not a complete reversal of his March 14 testimony, but a

clarification of responses to “questioning that was unclear to [him].”2 (3/15/19 Tr. 45; see 3/15/19

Tr. 41-47; see also 3/14/19 Tr. 194.) “I guess there was a misunderstanding,” Rustin said, “I

thought you were asking me if I had an agreement with Dr. Somerville, and I said no.” (3/15/19

Tr. 33; see also 3/15/19 Tr. 46 (“I was confused. Once it [which agreement] is cleared up, then

yeah. So there may be some inaccuracies there, but I was confused. . . . You have to keep in mind




       2
         Simon asks why, if the government knew that Rustin had provided false testimony on
March 14, it withheld that from the defense. (Simon Motion at 5 n.3.) The government did not
“know” Rustin’s testimony was “false,” because it was not. Cf. Rule 3.3 of the ABA Model Rules
of Professional Conduct (“candor toward the tribunal”). Some of the questions confused Rustin
and his answers were therefore somewhat inconsistent or unclear rather than false.

                                                 3
         Case 1:16-cr-10343-ADB Document 803 Filed 03/29/19 Page 4 of 8



that I’m getting rapid-fire questions. I’m sitting up here on a stand. I’m under a lot of duress. I’m

under a lot of stress. I’m doing the best to answer the questions.”)

       Second, Simon’s claim that the government pressured Rustin into changing his testimony

is completely speculative and unsupported by the evidence. But to the extent that Simon believed

that was the case, he was “not without weapons to cope with [a] ‘coached’ witness[].” Geders,

425 U.S. at 89. “Skillful cross-examination” is a powerful tool to raise questions about or

undermine a witness’s credibility and memory. See id. at 89-90; see also Magana, 127 F.3d at 6

(approving the district court’s response to improper evidence, in permitting counsel to examine

the witness about her conversation with the prosecutor). And although Simon complains that he

had “no meaningful opportunity to explore the circumstances” that led to the variation in Rustin’s

testimony from March 14 to March 15, the record suggests otherwise. The government questioned

Rustin during direct examination about the meetings it had had with him during the recess,

identifying who was present and how long the conversations lasted. (3/15/19 Tr. 33.) Simon and

Kapoor then both cross-examined Rustin at length about the testimony and exhibits at issue.

Kapoor, in particular, cross-examined Rustin about his conversations with the government

between his testimony on March 14 and March 15 and the discrepancies Kapoor saw between the

two days’ testimony. (See, e.g., 3/15/19 Tr. 45-46, 48-49, 54-56.) Kapoor asked Rustin if he was

“under a lot of pressure” on the stand. (3/15/19 Tr. 38.) Rustin agreed that he was, but denied that

anyone was putting pressure on him: it was “[j]ust the enormity of the situation. It’s very

overwhelming, and it’s a little intimidating.” (3/15/19 Tr. 38.) Moreover, Kapoor was the first

defense counsel to cross-examine Rustin, which gave Simon additional time before he began his




                                                 4
           Case 1:16-cr-10343-ADB Document 803 Filed 03/29/19 Page 5 of 8



cross-examination of Rustin.3 All of this undercuts Simon’s claim that he was not “in a position

to delve into the details” of the government’s meetings with Simon during his cross-examination.4

And to the extent Simon did not want to “delve into the details” in the jury’s presence, at least in

the first instance, he could have asked for a voir dire of Rustin outside the presence of the jury.

See Magana, 127 F.3d at 6. But he did not.

       The decision whether to grant a mistrial is reserved to the “broad discretion” of the trial

judge.” Renico v. Lett, 130 S. Ct. 1855, 1863 (2010). In a case involving the admission of

purportedly improper evidence, “[d]eclaring a mistrial is a last resort, only to be implemented if

the taint is ineradicable, that is, only if the trial judge believes that the jury's exposure to the

evidence is likely to prove beyond realistic hope of repair.” United States v. Apicelli, 839 F.3d 75,

86 (1st Cir. 2016) (citation omitted); see also United States v. DeJongh, 937 F.2d 1, 3 (1st Cir.

1991) (finding no abuse of discretion in district court’s refusal to grant a mistrial based upon the

prosecutor’s meeting with the government witness prior to her cross-examination and noting that

the defense, the court, and the jury were fully informed of the meeting in ample time to assess their

effect on the witness’s credibility). Simon cannot satisfy this standard, because the admission of

Rustin’s testimony was not improper.




       3
        Counsel for John Kapoor also suggested that the government had “browbeaten” and
“badgered” Rustin into changing his testimony. (3/15/19 Tr. 31-32.)

       4
          Questions about such conferences are regular fodder for cross-examination, given this
District’s practice of allowing a lawyer to confer with his or her witness during a recess during
direct examination.
                                                 5
         Case 1:16-cr-10343-ADB Document 803 Filed 03/29/19 Page 6 of 8



       Simon’s other suggested “cures” should also be rejected. In Sepulveda, the First Circuit

stated that if a defendant’s claim that the jury heard improper evidence is well-founded, the court

should strike the offending evidence and give a curative instruction. 15 F.3d at 1184; see Magana,

127 F.3d at 6. But Simon’s claim is not well-founded. Simon has offered nothing other than

baseless speculation that the government must have done something wrong. This is not sufficient

to warrant any sanction, let alone the extreme sanction of striking Rustin’s testimony.

       Finally, the district court should deny Simon’s request for an evidentiary hearing. “The

test for granting an evidentiary hearing in a criminal case [is] substantive: did the defendant make

a sufficient threshold showing that material facts were in doubt or dispute?” United States v. Allen,

573 F.3d 42, 50-51 (1st Cir. 2009) (quoting United States v. Vilches–Navarrete, 523 F.3d 1, 15

(1st Cir. 2008) (quotation marks and citation omitted) (concluding that district court did not abuse

its discretion in failing to hold evidentiary hearing on motion to suppress)). The district court has

“considerable discretion in determining the need for, and the utility of, evidentiary hearings.”

Allen, 573 F.3d at 50; see De Jongh, 937 F.3d at 3 (affirming district court’s refusal to strike

testimony of witness who conferred with prosecutor after her direct and before her cross

examination began, where there was no sequestration order and the defense, the court, and the jury

were told of the meeting and the witness was cross-examined about it); cf. United States v.

Graham, 146 F.3d 6, 9 (1st Cir. 1998) (describing the district court’s decision whether to grant an

evidentiary hearing on a selective prosecution claim as a “judgment call . . . as to the force and

specificity of the allegations, the strength of the response, and the likelihood that a hearing would

be helpful.” (citations omitted)).




                                                 6
           Case 1:16-cr-10343-ADB Document 803 Filed 03/29/19 Page 7 of 8



       Simon’s groundless and unsupported allegations of suspected wrongdoing do not justify

his request for an evidentiary hearing. This is even more apparent given that Simon knew about

Rustin’s conferences with the government prior to his cross-examination of Rustin and therefore

had the opportunity to cross-examine Rustin on the issue, and that Simon could have, but did not,

seek a voir dire of Rustin.5 What Simon seeks is nothing more than a fishing expedition based on

the flimsiest of premises, and this Court should deny his request.

       Accordingly, the government respectfully requests that the Court deny Simon’s motion for

mistrial, to strike testimony, or for an evidentiary hearing.

                                                       Respectfully submitted,

                                                       ANDREW E. LELLING
                                                       United States Attorney

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                                  CERTIFICATE OF SERVICE
       I, _K. Nathaniel Yeager___________, hereby certify that the foregoing document filed
through the ECF system will be sent electronically to counsel for the defendants.



       5
         Moreover, Simon did not ask for an evidentiary hearing until Rustin had completed his
testimony and left the District.
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Case 1:16-cr-10343-ADB Document 803 Filed 03/29/19 Page 8 of 8



                            By:   /s/




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